                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:01-CR-88-6

                                                 )
UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )          ORDER
                                                 )
JOSHUA KAREEM OLIPHANT                           )
                                                 )

       THIS MATTER IS BEFORE THE COURT on Defendant’s Letter Motion to Correct

Sentence [doc. 125] filed on November 4, 2008.

       In accordance with the Court’s original intent, the motion to correct sentence is

GRANTED. Defendant’s Judgment is to be amended indicating that Counts 1 and 3 are to run

concurrently with the sentencing for Mecklenburg County Docket numbers 01CRS14466,

01CRS14467, 01CRS14468, and 01CRS 14469. Defendant’s remaining count 4 is a mandatory

consecutive sentence.

       However, this Court does not have the authority to calculate defendant’s running time for

the BOP and therefore the request that we provide a discharge date is denied.

       IT IS ORDERED that a new J&C be prepared to reflect that the defendant’s federal

sentencing for Counts 1 and 3 are to run concurrently with each other and with the state

sentencing.

       IT IS SO ORDERED.                        Signed: November 5, 2008




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